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AO 245B       (Rev. 09,08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama

             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                                                           )
                        V.                                                 )
               ALVARO JOSE MENDOZA
                                                                                  Case Number:              1 :08CR215-MEF-02

                                                                           )      USM Number:               12563-002
                                                                           )
                                                                           )      David J. Harrison
                                                                                   Defendant's Attorney
THE DEFENDANT:

X pleaded guilty to count(s)        1 and 2 of the Indictment on 2/13/09
O pleaded nob contendere to count(s)
  which was accepted by the court.
0 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended              Count
21:846                           Conspiracy to Possess Methamphetamine with Intent to                         10/8/2008                    1
                                 Distribute
21:841(a)(l) & 18:2              Distribution of Methamphetamine and Aiding and Abetting                      10/8/2008                    2



       The defendant is sentenced as provided in pages 2 through                  6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)            __________________________________________
0 Count(s)                                               0 is 0 are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           May 13, 2009
                                                                           Date of Imposition of Judgment




                                                                           Signature of




                                                                           MARK E. FULLER, CHIEF U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge



                                                                           Date
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AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2— hnprisonment
                                                                                                    Judgment - Page   2   of   6
DEFENDANT:                     ALVARO JOSE MENDOZA
CASE NUMBER:                   1:08CR215-MEF-02


                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 Sixty four (64) months. This sentence consists of terms of 64 months on each count to be served concurrently.


    X The court makes the following recommendations to the Bureau of Prisons:

          The Court recommends that defendant be designated as near to Coffee or Geneva County as possible.



    X The defendant is remanded to the custody of the United States Marshal.

    U The defendant shall surrender to the United States Marshal for this district:
          oat ____________________ 0 a.m. 0 p.m. on
          0 as notified by the United States Marshal.

    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          0 as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

a                                                    with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/08) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                         Judgment—Page      3      of        6
 DEFENDANT:                 ALVARO JOSE MENDOZA
 CASE NUMBER:               1:08CR215-MEF-02
                                                       SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:          Three (3) years. This term consists of
 three years on each count to be served concurrently.

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detennined by the court.
 0 The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
      future substance abuse. (Chec/c; (1 applicable.)
 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. f applicable.)

 D The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
     works, is a student, or was convicted of a qualifying offense. (Check; if applicable.)

 O The defendant shall participate in an approved program for domestic violence. (Check, f applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
   1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
   3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)   the defendant shall support his or her dependents and meet other family responsibilities;
   5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
   6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
  10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plam view of the probation officer;
  11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and

  13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                        Judgment—Page   4    of        6
DEFENDANT:   ALVARO JOSE MENDOZA
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                                        SPECIAL CONDITIONS OF SUPERVISION
Defendant shall participate in a program of drug testing administered by the U.S. Probation Office.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
Court.
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AO 245B (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5— Criminal Monetary Penalties
                                                                                                   Judgment - Page 5           of        6
 DEFENDANT:                       ALVARO JOSE MENDOZA
 CASE NUMBER:                     1:08CR215-MEF-02
                                            CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                                           Restitution
 TOTALS            $ 200.00                                       $0                                   $0


 o The determination of restitution is deferred until ______ An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximatel roportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 .S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                              Total Loss*                       Restitution Ordered                   Priority or Percentage




 TOTALS                             $                                     $


 0 Restitution amount ordered pursuant to plea agreement $

 o The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
   fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
   to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 0 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
   0 the interest requirement is waived for the 0 fine 0 restitution.
       0 the interest requirement for the 0 fine [] restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/08) Judgment in a Criminal Case
          Sheet 6— Schedule of Payments
                                                                                                          Judgment - Page      6     of       6
 DEFENDANT:     ALVARO JOSE MENDOZA
 CASE NUMBER: 1:08CR215-MEF-02

                                                    SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A X Lump sum payment of $ 200.00                             due immediately, balance due

            Dnot later than            _____________________ , or
            x in accordance            0 C, [J D, 0 E, or X F below; or
 B 0 Payment to begin immediately (may be combined with D C,                          0 D, or 0 F below); or

 C 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $         ____________ over a period of
        ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

 D D Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $        ____________ over a period of
       ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or

 E          Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F X Special instructions regarding the payment of criminal monetary penalties:

            Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O.
            Box 711, Montgomery, AL 36101.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0 Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 0 The defendant shall pay the cost of prosecution.

 0 The defendant shall pay the following court cost(s):

 0 The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine mterest, (6) commumty restitution, (7) penalties, and (8) costs, includmg cost of prosecution and court costs.
